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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


PERRY JOHNSON,                                            Case No.

      Plaintiff,                                          Hon.
vs.

MICHIGAN BOARD OF STATE
CANVASSERS; JOCELYN BENSON,
in her official capacity as Secretary
of State; and JONATHAN BRATER,
in his official capacity as Director of
the Michigan Bureau of Elections,

      Defendants.

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           PLAINTIFF’S COMPLAINT FOR TEMPORARY
      RESTRAINING ORDER AND/OR PRELIMINARY INJUNCTION

      Plaintiff, Perry Johnson (“Mr. Johnson”), in his capacity as a candidate for

Governor of the State of Michigan seeking the Republican Party’s nomination via

Michigan’s August 2, 2022, primary ballot, through his attorney Eric Esshaki, files

this Complaint against Defendants Michigan Board of State Canvassers; Jocelyn

Benson, Secretary of State of Michigan; and Jonathan Brater, Director of the
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Michigan Bureau of Elections, in their official capacities (collectively

“Defendants”).

                    SUMMARY OF THIS CIVIL ACTION

      1.     Over the past several months, Mr. Johnson has secured the support of

hundreds of thousands of Michigan voters for his run for Governor. He has spent

countless hours and money campaigning. All recent relevant polling showed

unequivocally that Mr. Johnson was one of the front-runners in the Republican

primary race.

      2.     Mr. Johnson and his campaign have been working diligently over the

last couple months collecting petition signatures to gain access to the primary

election ballot. In total, Mr. Johnson, through his volunteer team and unaffiliated

third-party vendors, collected and filed with the Secretary of State’s office 23,193

signatures on or before April 19, 2022.

      3.     On May 23, 2022, the Secretary of State’s Bureau of Elections (the

“Bureau”) issued its staff reports to candidates. Mr. Johnson’s report indicated that,

although he had submitted well in excess of the 15,000 required signatures, only

13,800 were facially valid, thus disqualifying him from being placed on the

Republican primary election ballot in August 2022.

      4.     Mr. Johnson’s report indicated that a total of 9,393 signatures were

deemed invalid. Of those, 6,983 signatures were invalidated because they were


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collected by petition circulators alleged to have committed fraud on a massive scale.

The remaining 2,410 signatures were invalidated with almost no explanation at all

and without disclosing to Mr. Johnson which 2,410 of the 23,193 signatures the BOE

was invalidating.

          5.   Notwithstanding his broad support, Defendants’, through secretive

processes, deceptive practices, and on nothing more than whims of fraud, drastically

changed the Bureau of Elections Procedures (“BOE Procedures”) for canvassing

petition signatures.

          6.   Those changes unlawfully permitted the BOE to arbitrarily invalidate

6,983 of Mr. Johnson’s signatures as fraudulent without even giving so much as a

first glance at 5,580 of those.

          7.   The unlawful invalidation of those 5,580, along with the 2,410

undisclosed (and allegedly invalid) signatures left Mr. Johnson only 1,200 signatures

short of the required 15,000 signature threshold to have his name printed on the

ballot.

          8.   Defendants attempted to justify the changes to the BOE Procedures

based on several novel, inconsistent, trivial, and wholly arbitrary data points.

          9.   They then used those data points as pretext to categorize petition

circulators as fraudulent (“Fraudulent Circulators”) and proceeded to invalidate




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every signature those circulators collected by merely spot checking fewer than

twenty percent of those signatures.

      10.   That means that, contrary to Michigan Law, 5,580 signatures were

invalidated without anyone from the BOE actually comparing the signature to the

Qualified Voter File (“QVF”).

      11.   Defendants’ enforcement of the signature requirement in light of the

new Bureau Procedures and the alleged unprecedented fraud that occurred is

unreasonable and imposes a severe burden on Mr. Johnson’s rights by making it

impossible for him to have his name placed on the August 2022 primary ballot.

      12.   Defendants’ further violated Mr. Johnson’s right to due process of law

by failing to give him an opportunity to be heard in a meaningful manner.

      13.   Accordingly, Mr. Johnson is entitled to the relief sought herein.

                THE PARTIES, JURISDICTION AND VENUE

      14.   Mr. Johnson is a Michigan resident who seeks to appear as a Republican

candidate for the office of Governor on the August 2, 2022, primary ballot.

      15.   Defendant Michigan Board of State Canvassers is a four-member

public body created by the Michigan Constitution of 1963 and by statute. See Const.

1963, Art. 2, § 7, M.C.L. 168.22.

      16.   Defendant Jocelyn Benson is Michigan’s Secretary of State. Secretary

Benson is the State's chief elections official and has ultimate authority over the

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enforcement of the Michigan Election Code, including the provisions challenged

herein. Mr. Johnson asserts his claims against Secretary Benson in her official

capacity only. Secretary Benson's official address is 430 W. Allegan, Lansing,

Michigan 48933.

      17.    Defendant Jonathan Brater is the Director of the Michigan Bureau of

Elections. Director Brater accepts and reviews candidate petition filings, assists

county and local election officials with their administrative duties, and administers

the State's electoral process and Campaign Finance Act. Mr. Johnson asserts his

claims against Director Brater in his official capacity only. Director Brater's official

address is Bureau of Elections, 430 W. Allegan, Lansing, Michigan 48933.

      18.    Venue is proper in this Court because Mr. Johnson is a resident of

Michigan, and because the Defendants are state officials who maintain offices

throughout the State of Michigan. See Bay County Democratic Party v. Land, 340

F. Supp.2d 802 (E.D. Mich. 2004). This Court has personal jurisdiction over the

Defendants because they are public officials of the State of Michigan and they are

residents of Michigan. This Court is a proper venue for this civil action under 28

U.S.C. § 1391.

      19.    This Court has subject matter jurisdiction over this case pursuant to 28

U.S.C. § 1331, because Mr. Johnson’s claims arise under the First and Fourteenth

Amendments of the United States Constitution and 42 U.S.C. § 1983.


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          20.   Declaratory and injunctive relief is authorized by 28 U.S.C. §§ 2201

and 2202, and Rule 65 of the Federal Rules of Civil Procedure.

                             GENERAL ALLEGATIONS

          21.   The State of Michigan (“Michigan”) failed to follow its own election law

and standard nominating petition processing standards which resulted in keeping

Plaintiff Perry Johnson (“Mr. Johnson”) off Michigan’s August 2, 2022, Republican

gubernatorial primary ballot.

          22.   Mr. Johnson is a candidate for Governor of the State of Michigan

seeking the Republican Party’s nomination via Michigan’s August 2, 2022, primary

ballot.

          23.   To qualify for the primary ballot, Mr. Johnson needed to submit

nominating petitions with 15,000 valid signatures.

          24.   On or before April 19, 2022, Mr. Johnson submitted his nominating

petitions to the Bureau of Elections (“Bureau”) with 23,193 signatures and a signed

affidavit stating that the signatures were valid and genuine to the best of his

information and belief.

          25.   The Bureau’s standard approach to processing nominating petitions has

two stages.




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      26.    In stage one, the Bureau’s staff reviews every petition sheet for signature

and facial compliance with the Michigan Election Law, which includes: checking that

the signature header and the circulator certificate are properly completed; that each

signature is accompanied by an address, name, and date; and that the City or Township

in which the signor resides was in the County written on the signature header.

      27.    At the conclusion of stage one, the Bureau staff determines how many

signatures have been disqualified for facial errors and then calculates the balance of

the remaining signatures. If the balance of the remaining signatures are fewer than

the total required to qualify, the Bureau will recommend that the Board determine the

petitions insufficient. If the candidate has more signatures remaining than the required

number to qualify, the Bureau notes the difference (“the cushion”).

      28.    In stage two, Bureau staff then reviews any challenges to the petition’s

sufficiency. If the number of challenged signatures is larger than the cushion, staff

processes the challenge and determines how many of the challenged signatures were

invalid. If the number of challenged signatures is not larger than the cushion, staff

does not process the challenge because the cushion could not be overcome by the

challenge.

      29.    After reviewing the challenge, if the number of potentially valid

signatures remaining on the candidate’s nominating petitions falls below the threshold

required to be placed on the ballot, Bureau staff recommends that the Board determine
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the candidate’s petitions to be insufficient.      If the number of remaining valid

signatures is above the threshold required to be placed on the ballot, Bureau staff

recommends that the Board certify the candidate’s name to the ballot.

       30.    After facially reviewing the signatures on nominating petitions for all the

gubernatorial candidates, including Mr. Johnson’s, the Bureau staff identified an

alleged signature fraud scheme perpetrated by certain petition circulators and

unknown to the candidates.

       31.    Specifically, the Bureau estimated that 68,000 invalid signatures were

submitted across 10 sets of nominating petitions.

       32.    In an unprecedented deviation from the Bureau’s two stage standard

approach to processing nominating petitions, the Bureau modified its standard

approach by setting aside all the nominating petitions signed by the alleged fraudulent

petition circulators.

       33.    Next, the Bureau conducted a “targeted signature check” of the alleged

fraudulent nominating petitions but only compared 7,000 signatures of the estimated

68,000 alleged fraudulent signatures with signature records in the QVF.

       34.    After completing its “targeted signature check,” the Bureau declared that

all signatures appearing on all petitions signed by the alleged fraudulent petition

circulators were invalid.


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      35.    On May 23, 2022, the Bureau submitted its report to the Board

determining that, of the 23,193 nominating petition signatures that Mr. Johnson

submitted, only 13,800 signatures were valid because 6,983 were submitted on

petitions signed by alleged fraudulent petition circulators, and 2,500 were invalidated

for various errors.

      36.    The Bureau subsequently recommended to the Board that Mr. Johnson’s

petitions were insufficient because he lacked the required 15,000 valid signatures to

be placed on the August 2, 2022, primary ballot.

      37.    Before the scheduled May 26, 2022, public hearing, Mr. Johnson filed a

complaint with the Board objecting to the unprecedented deviation used by the Bureau

to invalidate 6,983 alleged fraudulent signatures without comparing each signature to

the QVF as required by Michigan law.

      38.    The Bureau responded to Mr. Johnson’s complaint with an affidavit

submitted to the Board stating that it compared only 1,405 (approximately 20.1%) of

the 6,983 alleged fraudulent signatures to the QVF and that none of the 1,405

signatures were determined to be valid.

      39.    The Board held its public hearing on May 26, 2022, at which it intended

to make a final determination on whether to accept the Bureau’s recommendation.




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      40.    At the May 26, 2022, Board public hearing, Bureau Director Jonathan

Brater admitted that the Bureau recommended invalidating Mr. Johnson’s signatures

without checking them against the QVF.

      41.    And, Director Brater further admitted that Bureau of Elections staff only

compared 7,000 of the 68,000 signatures on nominating petitions submitted across all

10 of gubernatorial candidates because according to him, it was “impractical” to

compare every signature against the QVF as required by law.

      42.    Additionally, neither the Bureau of Elections, nor the Board has ever

identified which signatures Mr. Johnson submitted on his nominating petitions were

invalid as compared to the QVF, if any at all.

      43.    And because the Bureau hasn’t checked all of Mr. Johnson’s 6,983

alleged fraudulent signatures against the QVF as required by law, and Mr. Johnson

doesn’t have access to the QVF, no one knows how many of his disqualified

signatures are actually invalid.

      44.    The Board ultimately deadlocked 2-2 along partisan lines and failed to

declare the sufficiency of his complaint.

      45.    And, upon information and belief, the Secretary of State has not, and

will not, certify Mr. Johnson’s name as a Republican candidate for the Office of

Governor on the August 2, 2022, primary ballot.


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      46.    Despite having a clear legal duty not to do so, the Board invalidated

entire petition sheets based on alleged forgeries, in direct violation of M.C.L.

168.554c(6)’s mandate that “The invalidity of 1 or more signatures on a petition does

not affect the validity of the remainder of the signatures on the petition,” as well as

binding judicial precedent.

      47.    There was no indication that the staff of the Secretary compared

any of the signatures on Mr. Johnson’s petitions to the QVF before or after applying

some unspecified eyeball test to make a determination – and public allegations – of

“fraud.” To date, there is no indication that the Secretary contacted any individuals

who circulated these petitions, no indication that the Secretary contacted any

individuals whose information appears on the face of the petitions, or any of the other

hallmarks of a traditional government fraud investigation. And, there have been no

criminal or civil charges yet brought against any of the individuals who circulated

the allegedly fraudulent petitions.

      48.    The Board furth er violated Mr. Johnson’s right to due process

guaranteed under both the United States and Michigan Constitutions by denying

him notice of the basis for its determination that signatures on his petitions were

invalid, and a meaningful opportunity to respond to its allegations of invalidity,

fraud, and forgery.



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      49.    Although it claims that 9,393 signatures on his petitions are invalid, the

Bureau has never given Mr. Johnson an itemized list of each of those signatures. Nor

has the Bureau given him any explanation for its invalidation other than a general

disqualification of each signature gathered by 18 circulators for various and sundry

“indicators” of fraud. Instead, the Bureau has only specifically identified 78 of his

signatures that may be invalid for jurisdictional reasons or because they are of

dubious authenticity. No specific signatures on any petition sheet has yet been

identified as forged and presented to Mr. Johnson by the Secretary in compliance

with Michigan law.

      50.    Because the Board violated its clear legal duties by applying the wrong

standard, violating the law, acting contrary to binding judicial precedent, ignoring

the Secretary’s guidance, and violating Mr. Johnson’s constitutional rights, it failed

to meet its burden of establishing that he had less than 15,000 valid signatures on his

nominating petitions.

      51.    On information and belief, the Secretary will not certify Mr. Johnson’s

name as a Republican candidate for the Office of Governor of Michigan for the

reasons stated above.

      52.    Ballots for the August 2, 2022, primary must be sent to uniformed

personnel and absentee voters on June 18, 2022. Before then, the primary ballots

need to be printed and proofed.


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      53.    Given these extreme time constraints a temporary restraining order

enjoining the Secretary from proceeding with certifying names for the August 2,

2022, Republican primary ballot without notice to Defendants is proper here because

it is the only possible avenue for Mr. Johnson’s name to appear on the August 2,

2022, primary ballot. Thus, Mr. Johnson has no other adequate equitable remedy

aside from a temporary restraining order.

      54.    And because the Secretary, on information and belief, will not certify

Mr. Johnson for the reasons stated above, a temporary restraining order enjoining

the Secretary from immediately finalizing the August 2, 2022, Republican primary

ballot is proper here because Mr. Johnson has at least 15,000 valid signatures, thus

he is likely to succeed on the merits of his claims, and will he suffer immediate and

irreparable harm if the Secretary leaves his name off the August 2, 2022, Republican

primary ballot.

      55.    Additionally, Mr. Johnson can show that because he obtained at least

15,000 valid nominating petition signatures, the balance of equity tips in his favor,

so it is in the public interest for his name to be included on the August 2, 2022

Republican primary ballot.




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                     COUNT I-VIOLATION OF FIRST AND
                    FOURTEENTH AMENDMENT RIGHTS
           (M.C.L. §§ 168.53; 168.544(f) are unconstitutional as applied to
                            Mr. Johnson as a candidate)

          56.   Plaintiff incorporates by reference all previous allegations of this

Complaint as if fully set forth herein.

          57.   In light of the alleged unprecedented fraud and the Bureau’s

unprecedented, unlawful, and after-the-fact deviation in processing the nominating

petition signatures in response to that fraud, Defendants’ enforcement of M.C.L. §§

168.53 and 168.544(f) is unconstitutional as applied to Mr. Johnson because

Defendants’ enforcement of those statutes in combination with the Bureau’s new

Procedures imposes a severe burden on Mr. Johnson, making it impossible for him

to satisfy the statutes’ signature requirements to appear on the primary election

ballot.

          58.   The Bureau’s hasty implementation of the new canvassing Procedures,

which significantly decrease the threshold for invalidating signatures and rely on

arbitrary and wholly speculative indicia of fraud to invalidate signatures, impose a

severe burden on candidates, like Mr. Johnson.

          59.   That burden is exacerbated by the fact that Defendants failed to notify

the candidates of the new Procedures, and implemented those Procedures after it was

too late for Mr. Johnson to compensate for them and submit additional signatures to

increase his “cushion.”
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       60.    Thus, when these factors are viewed in combination, including the

alleged unprecedented fraud that occurred, Defendants’ enforcement of statutory

signature requirements severely burdens Mr. Johnson.

       61.    Mr. Johnson will suffer immediate and irreparable harm because

Defendants’ unconstitutional enforcement of the statutory signature requirements

under the circumstances makes it impossible for him to get his name on the August

2, 2022, Republican primary ballot.

       62.    Under these circumstances, Defendants’ application and enforcement

of the signature requirements of M.C.L. sections 168.53 and 168.544(f) are

burdensome, unreasonable, and are not narrowly tailored to meet any compelling

state interest.

       63.    Therefore, Defendants’ continued enforcement of M.C.L. sections

168.53 and 168.544(f) against Mr. Johnson will continue to injure him in the

immediate future in the absence of relief from this court.

                    COUNT II-VIOLATION OF FOURTEENTH
                     AMENDMENT DUE PROCESS RIGHTS

       64.        Plaintiff incorporates by reference all previous allegations of this

Complaint as if fully set forth herein.

       65.    Mr. Johnson has a fundamental right to seek public office and he cannot

be deprived of that right without due process of law.



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         66.   Defendants are unlawfully denying Mr. Johnson access to the ballot

without providing him with an opportunity to be heard in a meaningful manner.

         67.   Defendants invalidated 9,393 signatures that Mr. Johnson filed with the

Bureau of Elections. Of those, 5,580 were invalidated without the Bureau having

first reviewed them. In addition, the Bureau invalidated an additional 2,410

signatures with little to no explanation.

         68.   The Bureau would not provide Johnson with an itemized list of the

2,332 (out of a total of 23,193) signatures that were invalidated, leaving him left to

guess.

         69.   Thus, without knowing which signatures the BOE was invalidating,

Johnson was forced to comb through nearly all 23,193 signatures and then guess as

to which of those comprised the 2,332 signatures the BOE invalidated.

         70.   The only way in which Mr. Johnson could reasonably ensure that his

arguments regarding the 2,332 invalidated signatures were heard in a meaningful

manner (or at all), was to make arguments that all 23,193 signatures should be

deemed valid.

         71.   That is an insurmountable task with even an unlimited amount of time

to prepare. Here, however, Mr. Johnson had three days to prepare.




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      72.    Thus, in addition to withholding from Mr. Johnson the information

necessary for him to prepare his case, the time constraints imposed upon him were

wholly unreasonable given the magnitude of the task.

      73.    Both the withholding of vital information and the time constraints

effectively robbed Mr. Johnson of any opportunity to be heard in a meaningful

manner. That is not due process.

      74.    Defendants should be enjoined from preventing the placement of Mr.

Johnson’s name on the ballot until or unless Mr. Johnson has had a meaningful

opportunity to be heard.     Anything less would deprive Mr. Johnson of his

fundamental rights without due process of law.

                             PRAYER FOR RELIEF

      WHEREFORE, Mr. Johnson respectfully requests that this Honorable Court

enter a judgment in its favor and against Defendants and grant the following relief:

      A.     Enter declaratory judgment holding M.C.L. sections 168.53 and
             168.544(f) are unconstitutional as applied to Mr. Johnson in his
             capacity as a candidate for Governor of the State of Michigan seeking
             the Republican Party’s nomination via Michigan’s August 2, 2022,
             primary ballot;

      B.     Enter a temporary restraining order and/or preliminary injunction,
             barring Defendants from enforcing the 15,000 signature threshold
             requirements of M.C.L. sections 168.53 and 168.544(f);

      C.     Enter an order requiring Defendants to decrease the signature threshold
             requirements, or place Mr. Johnson’s name on the August 2, 2022,
             Republican primary ballot;


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      D.    Enter an order requiring the Secretary of State to immediately cease the
            printing of August 2022 primary ballots until Mr. Johnson’s Motion for
            a Temporary Restraining Order is decided;

      E.    Award attorneys’ fees pursuant to 42 U.S.C. § 1998, and

      F.    Award such other relief as the Court deems just and proper.

                                      Respectfully submitted,

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